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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                          Criminal No. 20-MJ-384 (HB)

 UNITED STATES OF AMERICA,                 )
                                           )
                     Plaintiff,            )
                                           )
       v.                                  )
                                                ORDER OF DETENTION
                                           )
 MONTEZ TERRIEL LEE,                       )
                                           )
                     Defendant,            )
                                           )

      This matter came before the Court on June 18, 2020, for a preliminary hearing and

upon the motion of the United States for an Order of Detention. The Defendant was present

and represented by his attorney, Andrew S. Garvis, Esq. The United States was represented

by Assistant United States Attorney Thomas Calhoun-Lopez.

      Defendant Montez Terriel Lee is charged by Complaint with arson on property used

in interstate commerce, in violation of 18 U.S.C. § 844(i). A preliminary hearing was held

on June 18, 2020, at which time the Court concluded that probable cause exists to believe

the Defendant committed the offense charged.

      Before the hearing, pre-trial services interviewed the Defendant and issued a report

recommending detention, finding that Defendant presented a risk of non-appearance and a

danger to the community. The United States argued in support of that recommendation,

relying upon the Complaint, the testimony of Special Agent Liane Sellner of the Bureau of

Alcohol, Tobacco, Firearms and Explosives (ATF), and the pretrial services report. The

Court concludes that there has been a clear and convincing showing that no condition or
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combination of conditions of bond will reasonably ensure the safety of the community.

Accordingly, the Court will grant the Government’s motion for detention.

                 FINDINGS OF FACT AND CONCLUSIONS OF LAW

       Under 18 U.S.C. § 3142, pretrial detention may be ordered either upon a clear and

convincing showing that release will result in a danger to the community or upon a showing

by a preponderance of the evidence that release will result in a serious risk of flight. The

Court finds that detention is justified in order to ensure the safety of the community.

       The preliminary hearing established probable cause to believe that the Defendant

committed the offense charged in the complaint. A rebuttable presumption therefore arises

that no condition or combination of conditions will reasonably ensure the Defendant's

appearance in court and the safety of the community. See 18 U.S.C. § 3142(e).

       There is no evidence before the Court that would rebut this presumption.

Furthermore, the Defendant has a criminal history that includes acts of violence. His record

under court supervision includes multiple probation violations and failures to appear. He

committed two crimes while he was on active supervision for a felony assault conviction.

He was also under court supervision when he is alleged to have committed the instant

offense.

                                      CONCLUSION

       Based upon the evidence presented, the Court concludes that the United States has

made a clear and convincing showing that no condition or combination of conditions of

bond will reasonably ensure the safety of the community. Accordingly,

       IT IS HEREBY ORDERED that:

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       1.      The motion of the United States for detention of the Defendant is granted;

       2.      The Defendant is committed to the custody of the Attorney General for

confinement in a corrections facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal;

       3.      The Defendant shall be afforded reasonable opportunity to consult privately

with his lawyer; and

       4.      Upon Order of the Court or request by the United States Attorney, the person

in charge of the corrections facility in which the Defendant is confined shall deliver him to

the United States Marshal for the purpose of appearance in connection with a court

proceeding.


Dated: June 22, 2020                       s/David T. Schultz
                                           DAVID T. SCHULTZ
                                           United States Magistrate Judge




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